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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
       Plaintiff,                                   )
                                                    )
v.                                                  )       4:21cr44
                                                    )
MICHAEL DENNIS THOMAS,                              )
                                                    )
      Defendant.                                    )


                                          ORDER


       Counsel in the above-captioned case has advised the Court that all pretrial motions filed

on behalf of the defendant have been complied with and/or resolved by agreement. Therefore, a

hearing in this case is deemed unnecessary.

       IT IS ORDERED that the pretrial motions (docs. 22-32) filed on behalf of the defendant,

Michael Thomas, are DISMISSED.

       SO ORDERED, this WK day of June 2021.




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                                                           _ _____________________
                                              CHRISTOPHER
                                               CHRI R STOPHPH
                                                           P HER L. RAY
                                              UNITED STATES MAGISTRATE
                                                                   MAGISTRA ATE JUDGE
                                                                                 JU
                                              SOUTHERN DISTRICT OF GEORGIA
